        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 1 of 20




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :     CRIMINAL NUMBER 18-193
                                               :
DKYLE JAMAL BRIDGES and                        :
KRISTIAN JONES                                 :



                                           ORDER


       AND NOW, this                  day of                        , 2018, upon consideration of

the government’s Motion in limine to Exclude Evidence of Victims’ Other Sexual Behavior

Pursuant to Federal Rule of Evidence 412 and to Admit Evidence of Trafficking of Additional

Victims, and the Defendants’ Joint Response and Cross-Motion to Admit Evidence of Victims’

Other Sexual Behavior, it is hereby ORDERED that the government’s Motion is DENIED and

the Defendants’ Cross-Motion is GRANTED. The Defendants are hereby PERMITTED to

cross-examine the alleged victims about their participation in the sex trade before they allegedly

entered the Defendants’ employ.

                                               BY THE COURT:



                                               __________________________________________
                                               HON. NITZA I. QUIÑONES ALEJANDRO
                                               United States District Court Judge
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 2 of 20




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       CRIMINAL NUMBER 18-193
                                             :
DKYLE JAMAL BRIDGES and                      :
KRISTIAN JONES                               :



  DEFENDANTS’ JOINT RESPONSE IN OPPOSITION TO THE GOVERNMENT’S
 MOTION TO EXCLUDE EVIDENCE OF VICTIMS’ OTHER SEXUAL BEHAVIOR
 PURSUANT TO FEDERAL RULE OF EVIDENCE 412 AND TO ADMIT EVIDENCE
     OF TRAFFICKING OF ADDITIONAL VICTIMS AND CROSS-MOTION
      TO ADMIT EVIDENCE OF VICTIMS’ OTHER SEXUAL BEHAVIOR

       Defendants Dkyle Jamal Bridges and Kristian Jones respectfully submit this Joint

Response In Opposition to the Government’s Motion to Exclude Evidence of Victims’ Other

Sexual Behavior Pursuant to Federal Rule of Evidence 412 and to Admit Evidence of Trafficking

of Additional Victims, which is also in part styled as a Cross-Motion to Admit Evidence of

Victims’ Other Sexual Behavior to comport with the notice requirements of the Rule. Inquiry

into the alleged victims’ presence in the sex trade before they met defendants is necessary to

comport with their Constitutional right to present a complete defense and confrontation rights

pursuant to the Sixth Amendment. Consequently, Rule 412 should not bar cross-examination on

the subject and defendants respectfully move for the right to cross-examine the witnesses on their

employment as prostitutes prior to meeting them.

       As to the government’s motion to admit evidence of other victims not specifically named

in the Indictment as either intrinsic or admissible under Rule 404(b), such evidence is

unnecessary, cumulative, and/or unfairly prejudicial under Rule 403 of the Federal Rules of
          Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 3 of 20




Evidence, and would violate defendants’ Sixth Amendment confrontation rights under Crawford

v. Washington, 541 U.S. 36 (2004). The Court should therefore deny the government’s motion.

       The facts and case law supporting this Joint Response and Cross-Motion are set forth in

the accompanying Memorandum of Law, incorporated here by reference.

       WHEREFORE, for all the reasons set forth above and in the accompanying

Memorandum of Law, as well as any other reasons which may become apparent at a hearing or

the Court deems just, Defendants Dkyle Jamal Bridges and Kristian Jones respectfully submit

that the Court should deny the Government’s Motion and grant their Cross-Motion to Admit

evidence of the alleged victims’ participation in the sex trade before they allegedly entered their

employ.

                                              Respectfully submitted,


                                              /s/ Andrew Montroy
                                              ANDREW MONTROY, ESQUIRE

                                              /s/ Leigh M. Skipper
                                              LEIGH M. SKIPPER
                                              Chief Federal Defender




                                                 2
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 4 of 20




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      CRIMINAL NUMBER 18-193
                                              :
DKYLE JAMAL BRIDGES and                       :
KRISTIAN JONES                                :



               MEMORANDUM OF LAW IN SUPPORT OF
  DEFENDANTS’ JOINT RESPONSE IN OPPOSITION TO THE GOVERNMENT’S
 MOTION TO EXCLUDE EVIDENCE OF VICTIMS’ OTHER SEXUAL BEHAVIOR
 PURSUANT TO FEDERAL RULE OF EVIDENCE 412 AND TO ADMIT EVIDENCE
     OF TRAFFICKING OF ADDITIONAL VICTIMS AND CROSS-MOTION
      TO ADMIT EVIDENCE OF VICTIMS’ OTHER SEXUAL BEHAVIOR

       Defendants Dkyle Jamal Bridges and Kristian Jones respectfully submit this Joint

Response to the government’s Motion to Exclude Evidence of Victims’ Other Sexual Behavior

Pursuant to Federal Rule of Evidence 412 and to Admit Evidence of Trafficking of Additional

Victims, which is also in part styled as a Cross-Motion to Admit Evidence of Victims’ Other

Sexual Behavior to comport with the notice requirements of the Rule. The government’s Motion

to Exclude asserts that cross-examination regarding the alleged victims’ prior employment as

prostitutes would constitute nothing more than an argument that they “asked for it,” “consented

to the sexual misconduct,” or “are not worthy of belief.” Gov’t Mot. 7. A critical issue in this

case requires the jury to assess whether Mr. Jones knew, or recklessly disregarded the fact, that

the alleged victims were involved in the prostitution trade at their own choosing. Thus, whether

the alleged victims were willing participants in the sex trade before they met Mr. Jones bears

directly on his mental state, as well as the credibility of the government’s witnesses. For these

reasons, Mr. Jones has a constitutional right to cross-examine the government’s witnesses about

their prior prostitution “employment” in order to present a complete defense.
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 5 of 20




       As to the government’s motion to admit evidence of other victims not specifically named

in the Indictment as either intrinsic or admissible under Rule 404(b), such evidence is

unnecessary, cumulative, and/or unfairly prejudicial under Rule 403 of the Federal Rules of

Evidence, and would violate Mr. Jones’s Sixth Amendment confrontation rights under Crawford

v. Washington, 541 U.S. 36 (2004). The Court should therefore deny the government’s motion.

       For the reasons set forth below, defendants respectfully request that the government’s

Motions be denied, and that their Cross-Motion to Admit be granted.

I.     BACKGROUND

       The Indictment charges Mr. Jones with conspiring to sex traffic, and sex trafficking of,

minor victims using force or threats of force to cause victims to perform commercial sex acts.

Mr. Jones is charged with conspiring with co-Defendant Bridges, as well as “other persons

known and unknown to the Grand Jury.” Indictment Count One. No victims are named in

Count One. In Counts Four through Six, Mr. Jones and co-Defendant Bridges are charged with

the sex trafficking of minors B.T., N.G., and L.C by using force or threats of force.

       Discovery pertaining to the government’s witnesses in this case remains outstanding.

Although the government has produced some limited materials that fall under Giglio v. United

States, 405 U.S. 150 (1972), the full names of the alleged victims are still unknown to the

defense, and the government has not yet produced their criminal histories. Therefore, the

specifics of which, and to what extent, each of the alleged victims were employed as prostitutes

before they met Mr. Jones are largely unknown to the defense. The defense does, however, have

reason to believe that some or all of the alleged victims were already employed as prostitutes

when they met Mr. Jones.




                                                 2
          Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 6 of 20




II.    DISCUSSION

       The government first seeks a ruling from the Court excluding evidence of the victims’

other sexual behavior. However, admission of evidence related to the victims’ prior employment

as prostitutes is necessary for the jury to assess whether Mr. Jones knew, or recklessly

disregarded the fact, that the alleged victims were involved in the trade. Such evidence is also

relevant to whether Mr. Jones knew or recklessly disregarded the fact that the victims were

minors.

       The government also seeks a ruling from the Court admitting evidence of the trafficking

of victims not specifically named in the substantive counts of the Indictment. Because that

evidence is unnecessary, cumulative, and/or unfairly prejudicial under Rule 403, the Court

should deny the government’s motion.

       A. Evidence Relating to Prior Employment as Prostitutes

       Courts addressing the admissibility of alleged victims’ prior employment in the sex

industry in a sex-trafficking trial have done so under Federal Rule of Evidence 412. See, e.g.,

United States v. Rivera, 799 F.3d 180, 184-85 (2d Cir. 2015). 1 Rule 412 bars the introduction of



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 Rule 412 also requires the party offering such evidence to file a motion specifically describing
the evidence and purpose for which it is to be offered at least 14 days prior to trial and to serve
the motion on all parties and notify the victims or, where appropriate, the victim’s guardian or
representative. Fed. R. Evid. 412(c)(1). The Motion must be filed under seal. Id. § 412(c)(2).
Mr. Jones files this sealed Response and Cross-Motion more than 14 days prior to trial, in
compliance with the Rule.

        To the extent that Mr. Jones is required to personally notify every victim of his intent
under Rule 412(c)(1)(D), he respectfully requests an extension of time to do so or assistance
from the government or the court in providing notification given the lack of information, the
reluctance of certain victims to speak to the defense, and other procedural difficulties. See
United States v. Eagle, 137 F.3d 1011, 1015 (8th Cir. 1998) (noting the defendant filed his
motion only 6 days prior to trial, despite learning of the information 5 weeks earlier, and failed to
notify the victim of his intent to use the evidence “or to seek assistance from the government or
the court in order to provide notice”).
                                                 3
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 7 of 20




evidence concerning a victim’s “other sexual behavior” or “sexual predisposition” in a case

involving alleged sexual misconduct. Fed. R. Evid. 412(a). Rule 412’s main purposes are to

safeguard alleged victims against embarrassment and sexual stereotyping associated with public

disclosure of intimate details, and to encourage crime victims to come forward. See United

States v. Elbert, 561 F.3d 771, 776 (8th Cir. 2009) (citing Fed. R. Evid. 412 Advisory Committee

Notes) (additional citation omitted); United States v. Cephus, 684 F.3d 703, 708 (7th Cir. 2012)

(citing Fed. R. Evid. 1994 Amendments).

       Notwithstanding these important concerns, Rule 412 provides three exceptions where

evidence may be admitted in criminal cases:

          (A) evidence of specific instances of a victim’s sexual behavior, if offered to
       prove that someone other than the defendant was the source of semen, injury, or
       other physical evidence;
          (B) evidence of specific instances of a victim’s sexual behavior with respect to
       the person accused of the sexual misconduct, if offered by the defendant to prove
       consent or if offered by the prosecutor; and
          (C) evidence whose exclusion would violate the defendant’s constitutional
       rights.

Fed. R. Evid. 412(b)(1).

       Mr. Jones respectfully submits that Rule 412’s third exception, “evidence whose

exclusion would violate the defendant’s constitutional rights,” is applicable in this case. Among

the constitutional rights contemplated by Rule 412 is an accused’s Sixth Amendment right to

confront witnesses against him. Rivera, 799 F.3d at 184 (citing Olden v. Kentucky, 488 U.S.

227, 231 (1988)). “This includes ‘a meaningful opportunity to present a complete defense’ at

trial, Holmes v. South Carolina, 547 U.S. 319, 324 (2006) (internal quotation marks omitted),

and to confront witnesses, including by ‘impeach[ing] the credibility of a prosecution witness by

cross-examination,’ Davis v. Alaska, 415 U.S. 308, 309, 94 S. Ct. 1105, 39 L.Ed.2d 347 (1974).”

Id. at 184-85. While a district court is permitted to impose “reasonable limits” to cross-

                                                 4
         Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 8 of 20




examination based on “harassment, prejudice, confusion of the issues, the witness’ safety, or

interrogation that is repetitive or only marginally relevant,” United States v. John–Baptiste, 747

F.3d 186, 211 (3d Cir. 2014), the court must also heed the Sixth Amendment’s guaranteed

“opportunity for effective cross-examination,” United States v. Riggi, 951 F.2d 1368, 1375 (3d

Cir. 1991) (emphasis added).

       There are no precedential cases from the Third Circuit addressing this issue. See United

States v. Williams, 666 F. App’x 186, 201 (3d Cir. 2016) (applying abuse-of-discretion standard

and declining to determine whether constitutional exception to Rule 412 applied where any error

by district court would have been harmless because defense counsel was able to capitalize on

prostitute’s admission of prior acts of prostitution in his closing); United States v. Smith, 662 F.

App’x 132, 135 n.2 (2016) (applying abuse-of-discretion standard to find district court’s

exclusion of evidence of other sexual conduct of minor victim did not affect defendant’s

substantial rights where both victim and the government testified to victim’s continued

prostitution after defendant was arrested and defense counsel cross-examined the case agent on

that issue, exposing the jury “to the very evidence that [defendant] claim[ed] would have

affected [the victim]’s credibility”). As the government correctly points out, numerous courts of

appeals have recognized that Rule 412 prohibits the introduction of evidence regarding victims’

other sexual behavior in forcible sex-trafficking cases. See Cephus, 684 F.3d at 707-709; United

States v. Roy, 781 F.3d 416, 420-21 (8th Cir. 2015); Rivera, 799 F.3d at 185-86. The rationale

behind these cases is that prior employment in the sex industry is irrelevant to a determination of

whether the victims consented to be prostitutes, whether they knew they would be beaten by their

pimps, whether they agreed to give all their earnings to their pimps, or whether it was less likely

the women were deceived into engaging into prostitution. See Cephus, 684 F.3d at 708-09; Roy,



                                                  5
         Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 9 of 20




781 F.3d at 420-21; Rivera, 799 F.3d at 185; see also United States v. Valenzuela, 495 Fed.

App’x 817, 820 (9th Cir. 2012) (not precedential). The Courts have also held that the witnesses’

“unchastity” has no bearing on their credibility. Roy, 781 F.3d at 421 (citations omitted).

       Judge Jacobs’ dissent in Rivera, however, explains exactly why an alleged sex-trafficking

victim’s prior employment in the sex industry should be admissible to comport with a

defendant’s constitutional rights. The defendants in Rivera were accused of luring

undocumented immigrants to work in two bars that served as illegal brothels. They advertised

the jobs as waitressing jobs with decent salaries, and even offered to provide transportation to

and from work, and that they would be required to dress suggestively, serve drinks, and dance

with patrons. However, the government alleged the defendants threatened the victims with

violence and deportation if they contacted law enforcement or quit, forced them to drink alcohol

to the point of intoxication, required them to strip, and made them submit to fondling by bar

patrons. They were also forced to have sex with customers. Rivera, 799 F.3d at 183. As the

majority opinion pointed out, the government’s theory of the case was that the victims were

forced to perform sex acts against their will. Id. at 185.

       In dissent, Judge Jacobs pointed out that the defendant’s acts violated a host of state laws,

but that “the federal offense of sex-trafficking requires the government to show that the acts were

accomplished by certain means, and the means relied on at trial were fraud and threats.” Id. at

189-90 (Jacobs, J., dissenting). As a result, “precluding cross-examination of the victims about

work as prostitutes prior to their employ by defendants prevented defendants from advancing

their main defense: that the victims were not defrauded into engaging in a commercial sex act,

an element of the offense under 18 U.S.C. § 1591(a).” Id. (citation omitted) (emphasis added).

Judge Jacobs’ rejected the majority’s finding that the evidence was irrelevant to whether the



                                                  6
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 10 of 20




prostitutes were coerced into working for the defendants. Id. at 192. As he stated, if the

evidence “were truly irrelevant, the protections of Rule 412 would not even be implicated; the

evidence would simply be inadmissible under Federal Rule of Evidence 401.” Id. Further, while

a defendant cannot suggest that a person who was a prostitute automatically consented with

anyone at any time, that is not what the defendants sought to do in Rivera. Id. (citation omitted).

Rather than demonstrating consent to specific sexual encounters, “the excluded evidence was

relevant to whether [the victims’] employment in the commercial sex trade was procured by

fraud or coercion, as the government was required to show under 18 U.S.C. § 1591.” Id. “A

reasonable juror could conclude that prior, voluntary work in the industry suggested that the

employment arrangement here was consensual and not entered into by fraud.” Id. Instead, the

jury in that case was limited to the “wholly subjective point of view of the victims.” Id.

       Recognizing both that Rule 412 does not bar the introduction of evidence where its

probative value significantly outweighs possible harm to the victim, and that restrictions on a

defendant’s rights to “confront adverse witnesses and to present evidence may not be arbitrary or

disproportionate to the purposes they are designed to serve,” Judge Jacobs concluded the

excluded evidence was highly probative and should have been admitted. Id. at 191.

       In Mr. Jones’s case, cross-examination concerning the victims’ prior employment in the

sex industry is highly relevant to his defense and, under the Confrontation Clause, necessary to

effectuate his right to effectively call into question the victims’ credibility. The victims’ prior

activities in the sex trade must be considered in a fair determination of whether Mr. Jones

recruited, harbored, or maintained the victims with knowledge or in reckless disregard for the

fact that force or threats would be used to cause the victims to engage in prostitution. See Fed.

R. Evid. 401 (providing that relevant evidence is that which has any tendency to make a fact of



                                                  7
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 11 of 20




consequence to determination the case more or less probable than it would be without the

evidence). Knowledge that the victims were previously employed in the sex industry is certainly

relevant to a determination of whether the victims were forced or threatened into performing

commercial sex acts or whether Mr. Jones knew or recklessly disregarded the fact that those

means would be used. It would allow the jury to determine whether the government proved

beyond a reasonable doubt that the victims began or remained working for co-Defendant

Bridges, with Mr. Jones’s assistance, due to force or threats, or whether they joined the

prostitution “operation” as free agents and remained employed for other reasons. Although a

prostitute who voluntarily joins a pimp may still be forced into remaining in his employ, the

mere fact that there is a counter-argument to a defense theory does not make the evidence any

less relevant. The victims’ prior employment in the sex industry therefore bears directly on

whether they were forced into performing commercial sex acts, and whether Mr. Jones knew

they would be so forced.

       Evidence of the victim’s past employment in the sex industry is particularly important for

Mr. Jones to elicit because of his alleged minor role in the charged conduct as compared to co-

defendant Bridges. Indeed, the defense is not aware of any evidence implicating Mr. Jones in

sex trafficking activities before his arrest on November 15, 2016. Yet, the conspiracy charged

began in 2012. Thus, evidence of the victim’s activities before meeting Mr. Jones is critical to

his defense.

       Evidence regarding the victim’s past employment in the sex industry is also relevant to

whether Mr. Jones knew or recklessly disregarded the fact that the victims were minors, another

element of 18 U.S.C. § 1591. Experience in the sex industry is certainly a factor for the jury to

consider in whether Mr. Jones had good reason to believe the victims were of age. See United



                                                 8
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 12 of 20




States v. Phea, 755 F.3d 255, 261 (5th Cir. 2014) (noting that beyond a victim’s appearance or

behavior, factors relevant to whether defendant recklessly disregarded victim’s age include

“information from the victim, or others, or documentation that would cause a reasonable person

to question whether the victim was actually eighteen years old,” as well as “[c]ircumstances of

which a defendant was aware, such as the victim’s grade level in school, or activities in which

the victim engaged”); United States v. Jackson, 622 F. App’x 526, 529 (6th Cir. 2015) (same).

       Because of the high relevance of this evidence to Mr. Jones’s defense, admission of the

evidence is necessary to comport with his constitutional right to a meaningful defense and a fair

trial. See United States v. Conley, 92 F.3d 157, 169 (3d Cir. 1996) (noting the Confrontation

Clause’s requirement for an opportunity for effective cross-examination). As noted, although the

Third Circuit has not decided this issue, it has twice recently applied an abuse-of-discretion

standard to find that a defendant’s substantial rights were not violated where victim witnesses

testified to their prior or subsequent prostitution and thus the defense was able to capitalize on

that admission. See Williams, 666 F. App’x at 201; Smith, 662 F. App’x at 135 n.2.

       In addition, the probative value of the evidence significantly outweighs any harm to the

victims in this case. Importantly, each of the victims will testify about prostituting themselves

for co-Defendant Bridges and Mr. Jones. Therefore, evidence of prior employment in the sex

industry is quite unlike introducing evidence of sexual misconduct that was otherwise unknown

to the jury in a rape or molestation trial. In other words, the “cat will already be out of the bag,”

so to speak, that the witnesses were prostitutes. The defense does not plan to ask the witnesses

about any specific sex acts they performed, which comports with the purposes of Rule 412 to

avoid harassment or embarrassment and to encourage victims to come forward to testify.

Therefore, the prejudice to the government witnesses will be minimal, while the probative value



                                                  9
          Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 13 of 20




is great. It would be patently unfair to allow the government to introduce evidence of Mr.

Jones’s assistance in forcing the victims to engage in sexual acts while limiting the defense’s

ability to rebut the government’s allegations of such force.

          For all of these reasons, defendants respectfully submit that this Court adopt Judge

Jacob’s analysis to find that limited cross-examination about the witness’s prior employment in

the sex industry is highly relevant to their defense. Defense counsel will not question witnesses

about specific sex acts, and propose that a limiting instruction can be read to the jury when the

evidence is admitted, and/or during the Court’s final instructions. 2

          B. Evidence of trafficking of victims not specifically named in substantive counts

          The government seeks to admit evidence of trafficking of victims not specifically named

in the Indictment, arguing that such evidence is both inextricably intertwined with evidence of

the sex trafficking of the identified victims and admissible pursuant to Federal Rule of Evidence

404(b).

          Intrinsic evidence is that which directly proves the charged crimes or acts that were

“performed contemporaneously with the charged crime . . . if they facilitate[d] the commission

of the charged crime.” United States v. Green, 617 F.3d 233, 249 (3d Cir. 2010) (quoting United

States v. Bowie, 232 F.3d 923, 929 (D.C. Cir. 2000)). Any other evidence must meet the four-

pronged balancing test demanded by Rule 404(b). Id.


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 The defense does not make any argument regarding the admissibility of acts of prostitution the
victims engaged in after Mr. Jones was arrested on the instant charges, because the defense is
unaware of any specific proof that any of the victims did in fact continue to engage in
prostitution after he was arrested. Mr. Jones submits that if any of the victims continued to
engage in prostitution, it is relevant to a fair determination of whether they were forced before.
Indeed, a reasonable juror could conclude that if the victims remained in the sex industry after
the defendant’s incarceration, it is less likely that he knowingly or recklessly disregarded the fact
that such means would induce them to commit commercial sex acts. But see Roy, 781 F.3d at
421. Therefore, the defense respectfully requests the right to revisit this issue should the Jencks
and Giglio materials reveal evidence supporting such a claim.
                                                  10
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 14 of 20




       With respect to Rule 404(b) evidence, the admission of character evidence to prove a

defendant’s propensity is strictly prohibited. Indeed, Rule 404(b) only permits the limited

admission of “prior bad acts” if the evidence satisfies some other proper evidentiary purpose,

such as proving “motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident.” Fed. R. Evid. 404(b). Courts have recognized that:

       The problem with propensity evidence is that it “weigh[s] too much with the jury
       [because it] overpersuade[s] them as to prejudge one with a bad general record
       and den [ies] [the defendant] a fair opportunity to defend against a particular
       charge,” without limitations based on whether the charged and uncharged acts are
       the same.

United States v. Smith, 725 F.3d 340, 347 (3d Cir. 2013) (quoting Michelson v. United States,

335 U.S. 469, 476 (1948)). The purpose of Rule 404(b), therefore, is to protect an accused’s

constitutional right to a fair trial from the tendency that character evidence has to

“overpersuade” the jury. Consequently, the Third Circuit, in a series of recent cases, has

clarified that Rule 404(b) functions as a rule of exclusion, not a rule of inclusion. See United

States v. Brown; 765 F.3d 278, 294 (3d Cir. 2014); United States v. Caldwell, 760 F.3d 267, 276

(3d Cir. 2014).

       The Supreme Court has established, and the Third Circuit has adopted, a four-prong test

to determine whether evidence of the other crimes, wrongs or acts is admissible under Rule

404(b). See Huddleston v. United States, 485 U.S. 681 (1988); United States v. Scarfo, 850 F.2d

1015 (3d Cir.), cert. denied, 488 U.S. 910 (1988). To be admissible, the proponent of the Rule

404(b) evidence must persuade the court the proffered evidence: (1) has a proper evidentiary

purpose under Rule 404(b); (2) is relevant under Rule 402; (3) is of such probative value as to

outweigh the prejudice to the defendant as required by Rule 403; and (4) the introduction of such




                                                 11
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 15 of 20




evidence must be accompanied by a proper limiting instruction. United States v. Smith, 725 F.3d

340, 344 (3d Cir. 2013) (citing Huddleston, 485 U.S. at 691).

       The government argues the evidence of additional victims is intrinsic evidence and

admissible under Rule 404(b), as it provides background information of the charged crimes, as

well as evidence of knowledge, intent, and modus operandi of Mr. Jones.

       Evidence of additional victims, however, cannot be intrinsic evidence of the substantive

counts in the Indictment. Mr. Jones’s interactions with other victims are not proof of how he

interacted with the three named victims in Counts Four through Six. See United States v.

Hernandez, 626 F. App’x 900, 906 (11th Cir. 2015) (finding that evidence of “similar modus

operandi employed against another victim is not inextricably intertwined with the charges, but

rather is classic Rule 404(b) evidence of other bad acts”); United States v. Jackson, 299 F.R.D.

543, 546 (W.D. Mich. 2014) (“Evidence that Defendant had other prostitutes working for him,

and how he managed them is not inextricably intertwined with the charges in this case unless

Defendant somehow puts the issue into contention.”). Indeed, the evidence would be offered

primarily to suggest that because Mr. Jones trafficked victims before, he committed the instant

offenses. See Jackson, 299 F.R.D. at 546 (“To the extent that evidence of Defendant’s other

prostitutes is offered to corroborate the testimony of the Minors, it creates a great risk of being

prohibited propensity evidence.”). Thus, other victim evidence is replete with improper

character inferences that because Mr. Jones treated previous victims in a certain manner, he must

have treated the three named victims in the same way.

       To the extent the Court finds this evidence may be true 404(b) evidence, the defense

submits it would be premature to make a ruling without more information from the government.

What the government contends to be evidence of a modus operandi, for example, may in fact be



                                                 12
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 16 of 20




propensity evidence. See Willoughby, 742 F.3d 229, 237 (6th Cir. 2014) (finding that prostitute’s

testimony that defendant “gave her condoms and counted them when she returned after work”

was not sufficiently distinctive to be admissible evidence of a continuing pattern of illegal

activity or a common plan or scheme, as “saying that a pimp counts condoms is like saying that a

bank robber uses a gun”).

       But even if the Court finds such evidence goes to Mr. Jones’s knowledge that the victims

would be caused to engage in sex acts—both an element of the offense and a permissible purpose

under Rule 404(b)—the probative value of such evidence does not outweigh its great prejudice to

Mr. Jones or its cumulative nature. Testimony of additional victims not charged in the

Indictment would have a powerful impact on the jury, and because the prior uncharged conduct

is substantially similar to the instant charged crimes, the danger of its admission is especially

dangerous. See Willoughby, 742 F.3d at 238. Further, the government has failed to show why

other means of proof are insufficient in this case. United States v. Bailey, 840 F.3d 99, 122 (3d

Cir. 2016) (“This court and other circuit courts have clarified that probative value is informed by

the availability of alternative means to present similar evidence.” (internal quotation marks and

citations omitted)); Willoughby, 742 F.3d at 238 (finding probative value of pimping testimony

“modest” where it “merely showed that [defendant] knew what everyone else knew” and the

government “already had overwhelming proof that, when [defendant] drove [the victim] to the

residences of two johns, he knew full well that she would be caused to engage in a commercial

sex act there”). Indeed, evidence of trafficking of additional victims is likely to be cumulative,

and its “contribution to the determination of truth would be outweighed by its contribution to the

length of trial, with all the potential for confusion.” United States v. Cross, 308 F.3d 308, 326

(3d Cir. 2002); see Fed. R. Evid. 403 (providing that relevant evidence “may be excluded if its



                                                 13
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 17 of 20




probative value is substantially outweighed by ... considerations of undue delay, waste of time,

or needless presentation of cumulative evidence”); Willoughby, 742 F.3d at 238 (finding the

government’s use of pimping testimony to show defendant’s knowledge was “piling on” after

officer and named victim provided sufficient testimony—“enough to convict [defendant]”).

Thus, the probative value of any additional victim evidence would be substantially outweighed

by both the unfair prejudice to Mr. Jones and needless presentation of cumulative evidence. See

Willoughby, 742 F.3d at 238 (noting the “government’s use of [uncharged pimping evidence]

with an unquestionably powerful and prejudicial impact . . . merely to prove a fact already

proven by overwhelming evidence, can be grounds for reversal”).

       To the extent the government argues such evidence is intrinsic to the conspiracy charged,

the defense contends it is also premature for the Court to make a determination as to its relevance

and prejudice to Mr. Jones under Rules 401 and 403. See Jackson, 299 F.R.D. at 546 (granting

defendant’s motion to exclude “evidence of other prostitutes to show broader sex-trafficking

operation or for the purpose of corroborating the testimony of the Minors” until the court knew

“what the evidence [was], and how it fits in with the other evidence at trial”). But the defense

notes there is a great risk that such evidence will be overly prejudicial to Mr. Jones. Indeed, in

United States v. Bobb, cited by the government, the Third Circuit found that the district court

properly admitted evidence of the uncharged assault of a participant in the charged conspiracy by

defendant—the “organizer and leader” of the conspiracy. 471 F.3d 491, 497-98 (3d Cir. 2006).

Such evidence, the appellate court held, revealed the defendant’s “enforcement of the conspiracy

in a leadership role.” Id. at 498. Here, evidence pertaining to uncharged victims makes no such

showing as to Mr. Jones, an alleged minor player in the instant sex trafficking conspiracy.




                                                 14
        Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 18 of 20




       Finally, the defense urges the court to consider the cumulative effect of allowing each

additional victim’s testimony concerning Mr. Jones’s prior trafficking activity. As Judge

McHugh recently found in United States v. Hill, a court “should stop at each step to recalibrate

the Rule 403 scale to take into consideration the overall impact on the jury.” 309 F. Supp. 266,

270 (E.D. Pa. 2018). Although the “probative value of any instance of conduct can certainly be

evaluated individually, . . . the analysis for prejudice must at each step take into account the

combined effect of allowing multiple instances of such conduct to be heard by the jury.” Id. at

270-71 (emphasis in original). This is both because the prejudicial effect of allowing evidence of

multiple instances of prior bad acts is “magnified,” and because “the cumulative nature of

the evidence would also more likely lead the jury to consider it for the improper purpose of

showing propensity.” Id. at 271. In following this reasoning, in Hill, Judge McHugh permitted

the government to introduce one prior robbery, but excluded the additional robberies the

government sought to introduce. Id. Thus, to the extent the Court is inclined to admit any

evidence of Mr. Jones’s trafficking of additional victims, the combined prejudicial effect of each

additional act must be considered.

III.   CONCLUSION

       Limited inquiry into the victims’ prior employment in the sex industry is directly relevant

to what will be the most hotly contested issue at trial, and cross-examination is crucial to the

defendants’ Sixth Amendment right to present a complete defense and their Fifth Amendment

Due Process right to a fair trial. Further, evidence of other victims not specifically named in the

Indictment is unnecessary, cumulative, and/or unfairly prejudicial under Rule 403.

Consequently, the defendants respectfully submit that the Court should deny the government’s




                                                 15
       Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 19 of 20




Motion and grant their Joint Cross-Motion to Admit evidence regarding the victims’ prior

employment as prostitutes.

                                            Respectfully submitted,


                                            /s/ Andrew Montroy
                                            ANDREW MONTROY, ESQUIRE

                                            /s/ Leigh M. Skipper
                                            LEIGH M. SKIPPER
                                            Chief Federal Defender




                                              16
         Case 2:18-cr-00193-NIQA Document 73 Filed 10/31/18 Page 20 of 20




                                CERTIFICATE OF SERVICE


         We, Andrew Montroy, Esquire, and Leigh M. Skipper, Chief Federal Defender, hereby

certify that we electronically filed and served a copy of Defendants’ Joint Response in

Opposition to the Government’s Motion in limine to Exclude Evidence of Victims’ Other Sexual

Behavior Pursuant to Federal Rule of Evidence 412 and to Admit Evidence of Trafficking of

Additional Victims and Cross-Motion to Admit Evidence of Victims’ Other Sexual Behavior and

Memorandum of Law in Support thereof upon Seth M. Schlessinger, Assistant United States

Attorney, United States Attorney’s Office, Suite 1250, 615 Chestnut Street, Philadelphia,

Pennsylvania 19106 and upon Jessica L. Urban, Esquire, Trial Attorney, United States

Department of Justice, Criminal Division, 1400 New York Avenue, N.W., Washington, D.C.

20005.

                                             /s/ Andrew Montroy
                                             ANDREW MONTROY, ESQUIRE

                                             /s/ Leigh M. Skipper
                                             LEIGH M. SKIPPER
                                             Chief Federal Defender

DATE: October 31, 2018
